                                  Case 2:20-cv-03501-PBT Document 1 Filed 07/16/20 Page 1 of 20
JS 44 (Rev. 0    )                                                       CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                        DEFENDANTS


   (b) County of Residence of First Listed Plaintiff                                                     County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                               Attorneys (If Known)




II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                         and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                   PTF        DEF                                           PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                      Citizen of This State           1              1   Incorporated or Principal Place          4      4
                                                                                                                                                     of Business In This State

  2    U.S. Government                 4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place          5          5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                            of Business In Another State

                                                                                                Citizen or Subject of a             3          3   Foreign Nation                            6          6
                                                                                                  Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                          Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                            FORFEITURE/PENALTY                        BANKRUPTCY                      OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158            375 False Claims Act
  120 Marine                         310 Airplane                     365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                   376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                 Product Liability        690 Other                                28 USC 157                       3729(a))
  140 Negotiable Instrument               Liability                   367 Health Care/                                                                                   400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                 Pharmaceutical                                                PROPERTY RIGHTS                  410 Antitrust
      & Enforcement of Judgment           Slander                         Personal Injury                                               820 Copyrights                   430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’               Product Liability                                             830 Patent                       450 Commerce
  152 Recovery of Defaulted               Liability                   368 Asbestos Personal                                             835 Patent - Abbreviated         460 Deportation
      Student Loans                  340 Marine                           Injury Product                                                    New Drug Application         470 Racketeer Influenced and
      (Excludes Veterans)            345 Marine Product                   Liability                                                     840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment             Liability                  PERSONAL PROPERTY                       LABOR                      SOCIAL SECURITY                  480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle                370 Other Fraud              710 Fair Labor Standards             861 HIA (1395ff)                 485 Telephone Consumer
  160 Stockholders’ Suits            355 Motor Vehicle                371 Truth in Lending              Act                             862 Black Lung (923)                 Protection Act
  190 Other Contract                     Product Liability            380 Other Personal           720 Labor/Management                 863 DIWC/DIWW (405(g))           490 Cable/Sat TV
  195 Contract Product Liability     360 Other Personal                   Property Damage               Relations                       864 SSID Title XVI               850 Securities/Commodities/
  196 Franchise                          Injury                       385 Property Damage          740 Railway Labor Act                865 RSI (405(g))                     Exchange
                                     362 Personal Injury -                Product Liability        751 Family and Medical                                                890 Other Statutory Actions
                                         Medical Malpractice                                            Leave Act                                                        891 Agricultural Acts
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS             790 Other Labor Litigation           FEDERAL TAX SUITS                893 Environmental Matters
  210 Land Condemnation              440 Other Civil Rights          Habeas Corpus:                791 Employee Retirement              870 Taxes (U.S. Plaintiff        895 Freedom of Information
  220 Foreclosure                    441 Voting                      463 Alien Detainee                Income Security Act                   or Defendant)                   Act
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                              871 IRS—Third Party              896 Arbitration
  240 Torts to Land                  443 Housing/                        Sentence                                                            26 USC 7609                 899 Administrative Procedure
  245 Tort Product Liability             Accommodations              530 General                                                                                             Act/Review or Appeal of
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                 IMMIGRATION                                                           Agency Decision
                                         Employment                  Other:                        462 Naturalization Application                                        950 Constitutionality of
                                     446 Amer. w/Disabilities -      540 Mandamus & Other          465 Other Immigration                                                     State Statutes
                                         Other                       550 Civil Rights                  Actions
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original              2 Removed from                    3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding              State Court                            Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                     (specify)                        Transfer                         Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Brief description of cause:

VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD


FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                    JUDGE                           MAG. JUDGE
                             Case 2:20-cv-03501-PBT
                                                UNITEDDocument   1 Filed
                                                      STATES DISTRICT    07/16/20 Page 2 of 20
                                                                      COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                           4233 Richmond Street, Philadelphia, PA 19137
Address of Plaintiff: ______________________________________________________________________________________________
                                          34 Old Ivy Road, Suite 200, Atlanta, GA 30342
Address of Defendant: ____________________________________________________________________________________________
                                                                        Philadelphia, PA
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                    No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
           07/16/2020                                                                                                                             74249
 M
 DATE: __________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                Attorney I.D. # (if applicable)


CIVIL: (Place a √ in one category only)

A.            Federal Question Cases:                                                       B.   Diversity Jurisdiction Cases:

      1.     Indemnity Contract, Marine Contract, and All Other Contracts                  
                                                                                            ✔    1.    Insurance Contract and Other Contracts
      2.     FELA                                                                              2.    Airplane Personal Injury
      3.     Jones Act-Personal Injury                                                         3.    Assault, Defamation
      4.     Antitrust                                                                         4.    Marine Personal Injury
      5.     Patent                                                                            5.    Motor Vehicle Personal Injury
      6.     Labor-Management Relations                                                        6.    Other Personal Injury (Please specify): _____________________
      7.     Civil Rights                                                                      7.    Products Liability
      8.     Habeas Corpus                                                                     8.    Products Liability – Asbestos
      9.     Securities Act(s) Cases                                                           9.    All other Diversity Cases
      10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
      11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (The effect of this certification is to remove the case from eligibility for arbitration.)

               Robert L. Ebby
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

     
     ✔        Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

             Relief other than monetary damages is sought.


      07/16/2020
DATE: __________________________________                     __                                                                                   74249
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (5/2018)
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                          CASE MANAGEMENT TRACK DESIGNATION FORM

DELAWARE AVENUE, LLC                                                        :
                                                                            :
           v.                                                               :         No.:
                                                                            :
RECLEIM PA LLC, and                                                         :
RECLEIM LLC                                                                 :

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for plaintiff shall complete
a Case Management Track Designation Form in all civil cases at the time of filing the complaint and serve a copy on all
defendants. (See §1:03 of the plan set forth on the reverse side of this form.) In the event that a defendant does not agree
with the plaintiff regarding said designation, that defendant shall, with its first appearance, submit to the clerk of court
and serve on the plaintiff and all other parties, a case management track designation form specifying the track to which
that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

                    (a)      Habeas Corpus - Cases brought under 28 U.S.C. §2241
                             through §2255.                                                             (         )

                    (b)h     Social Security - Cases requesting review of a decision
                             of the Secretary of Health and Human Services denying
                             plaintiff Social Security Benefits.                                        (         )

                    (c)      Arbitration - Cases required to be designated for
                             arbitration under Local Civil Rule 53.2.                                   (         )

                    (d)      Asbestos - Cases involving claims for personal injury
                             or property damage from exposure to asbestos.                              (         )

                    (e)     Special Management - Cases that do not fall into
                            tracks (a) through (d) that are commonly referred to
                            as complex and that need special or intense management
                            by the court. (See reverse side of this form for a detailed
                            explanation of special management cases.)                                   (         )

                    (f)     Standard Management - Cases that do not fall into any
                            one of the other tracks.                                                    (    X    )


July 16, 2020                                                               DELAWARE AVENUE, LLC
    Date                     Attorney-at-Law                                Attorney for

215-496-7053                 215-568-0300                                   rebby@hangley.com
   Telephone                          FAX Number                            E-Mail Address
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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA



                                                  :   CIVIL ACTION
 DELAWARE AVENUE, LLC                             :
 4233 Richmond Street                             :
 Philadelphia, PA 19137,                          :
                                                  :   No. ______
                                 Plaintiff,       :
                                                  :
                   v.                             :
                                                  :
 RECLEIM PA LLC                                   :
 34 Old Ivy Road, Suite 200                       :
 Atlanta, GA 30342                                :
                                                  :
   and                                            :
                                                  :
 RECLEIM LLC                                      :
 34 Old Ivy Road, Suite 200                       :
 Atlanta, GA 30342,                               :
                                                  :
                                 Defendants.      :

                                              COMPLAINT

         Plaintiff Delaware Avenue, LLC (“Landlord”) brings this Complaint against defendants

Recleim PA LLC (“Recleim PA”) and its owner and parent, Recleim LLC (“Recleim Parent”),

and in support avers the following:

                                         INTRODUCTION

         1.       This is an ejectment and damages action to remove a commercial holdover tenant

that has failed to pay rent for more than seven months from Landlord’s industrial complex at

4301 North Delaware Avenue, Philadelphia, PA and to recover the more than $650,000 in back

rent owed as well as property damage that Recleim PA and Recleim Parent (collectively,

“Recleim”) have caused.
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          2.       Pursuant to two commercial leases between Landlord and Recleim PA, Landlord

leased Buildings A and B and surrounding areas (the “Premises”) at its 4301 North Avenue

industrial complex to Recleim PA. Recleim PA and/or Recleim Parent operate Recleim Parent’s

Philadelphia appliance recycling plant at the Premises.

          3.       After (a) Recleim PA had fallen behind on its rent payment in July, August,

September, October, November, and December 2019; (b) Recleim had amassed a mountain of

industrial waste at the Premises; and (c) Recleim PA had failed to pay any rent in January 2020,

Landlord terminated the Leases and directed Recleim PA to vacate the Premises.

          4.       Although both Leases have been terminated and Recleim PA was required to

vacate the Premises in January 2020, Recleim PA – for the past seven months – has continued to

occupy the Premises as a holdover tenant and, together with Recleim Parent, operate Recleim

Parent’s recycling plant.

          5.       Recleim PA has not paid any rent since December 2019.

          6.       Recleim PA has also barred Landlord from entering the Premises to inspect or

repair the structural damage Recleim has caused to the Premises, and Recleim PA has become

delinquent on its payment obligations to the City of Philadelphia, including by failing to pay its

water utility bills, forcing Landlord to pay the same to avoid the imposition of a lien on its

property. Landlord also paid Recleim PA’s 2020 use and occupancy taxes through March 2020

to avoid a lien. Recleim PA’s use and occupancy taxes for April, May, June, and July remain

unpaid.

          7.       Further, although Recleim PA’s rent delinquencies clearly predate the COVID-19

pandemic, Recleim PA – three months after the Leases had been terminated – shamelessly




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sought to use the COVID-19 pandemic to excuse its failure to pay rent since January 2020, all

the while continuing to operate the plant at the Premises, but now rent-free.

        8.       Accordingly, Landlord brings this action to recover its property, have Recleim

ejected from the Premises, and recover the more than $650,000 in back rent owed and structural

damage repair costs.

                         THE PARTIES, JURISDICTION, AND VENUE

        9.       Landlord is a Pennsylvania limited liability company that maintains a business

address located at 4233 Richmond Street, Philadelphia, PA 19137. For purposes of diversity

jurisdiction, Landlord is deemed a citizen of New Jersey, as its sole member is an individual who

resides in New Jersey.

        10.      Recleim Parent is a Delaware limited liability company that maintains a business

address at 34 Old Ivy Road, Suite 200, Atlanta, GA 30342. Recleim Parent owns Recleim PA

and operates and/or owns an appliance recycling plant at the Premises.

        11.      Recleim PA is a Delaware limited liability company that maintains a business

address at Recleim Parent’s office: the same 34 Old Ivy Road, Suite 200, Atlanta, GA 30342

address. Upon information and belief, Recleim PA is wholly owned by Recleim Parent.

        12.      Upon information and belief, no Recleim PA member or Recleim Parent member

is a citizen of New Jersey; on the contrary, each Recleim PA member and Recleim Parent

member is a citizen of a state other than New Jersey.

        13.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(a) because the amount in controversy exceeds $75,000, exclusive of interest and costs,

and the controversy is between commercial entities that are citizens of different states.

        14.      Venue is proper in this district pursuant to 28 U.S.C. § 1391 because (a) the

property at issue in this action is located within this judicial district; (b) a substantial part of the


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events, occurrences, and omissions that give rise to the causes of action in this action occurred in

this judicial district; and (c) Recleim PA and Recleim Parent are subject to personal jurisdiction

in this Commonwealth, which includes this judicial district.

       15.     This Court may exercise personal jurisdiction over Recleim PA because, among

other things, Recleim PA leased property and operates a business within this Commonwealth and

regularly conducts business here, specifically with respect to the Premises and Leases at issue.

This Court may exercise personal jurisdiction over Recleim Parent because, among other things,

Recleim Parent, according to its website, owns and operates an appliance recycling plant in this

Commonwealth, specifically at the Premises, and regularly conducts business here. Further, as

more fully stated below, Recleim Parent has tortiously interfered with the Leases and caused

harm in this Commonwealth.

                                        BACKGROUND

       16.     Landlord owns the Premises, which are part of a larger industrial complex located

at 4301 North Delaware Avenue, Philadelphia, PA, near the Betsy Ross Bridge. Specifically, the

Premises consist of two buildings within this industrial complex – Buildings A and B – and

certain surrounding area. Building A consists of approximately 52,000 sf; Building B consists of

approximately 23,500 sf.

       A.      Recleim PA Leases the Premises to Operate Recleim Parent’s Philadelphia
               Appliance Recycling Plant

       17.     Pursuant to an Assignment and Assumption of Lease dated August 16, 2017,

Recleim PA, as the tenant, assumed an Industrial Lease dated November 2008, as amended. A

copy of the Assignment and Assumption of Lease, together with the original lease and

amendments thereto for Building A (collectively, the “Building A Lease”) is attached as Exhibit

A.



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       18.     Pursuant to another Assignment and Assumption of Lease dated August 16, 2017,

Recleim PA, as the tenant, assumed an Industrial Lease for Building B dated October 1, 2013, as

amended. A copy of the Assignment and Assumption of Lease, together with the original lease

and amendments thereto for Building B (collectively, the “Building B Lease”) is attached as

Exhibit B.

       19.     Pursuant to the Building A and Building B Leases, Landlord provided industrial

space to Recleim PA, which Recleim uses to operate Recleim Parent’s Philadelphia appliance

recycling plant.

       20.     Pursuant to the Building A Lease, Recleim PA agreed to pay Landlord a monthly

Base Rent in advance on the first day of each calendar month. (Building A Lease Art. 4, ¶¶ 4.01,

4.02.) Specifically, the Building A Lease provides in part as follows with respect to certain rent:

                                     ARTICLE IV - RENT

               4.01 Base Rent. During the Lease Term, Tenant shall pay to
               Landlord as rental for the Premises the Base Rent described in
               Section 1.06 [sic] above.

               4.02 Payment. Base Rent shall be payable in advance on the
               first day of each calendar month. All Rent, and all other amounts
               payable to Landlord by Tenant pursuant to the provisions of this
               Lease, shall be paid to Landlord, without notice, demand,
               abatement, deduction or offset, in lawful money of the United
               States at Landlord’s address, as stated herein, or to such other
               person or at such other place as Landlord may designate from time
               to time by written notice given to Tenant.

               4.03 Late Charge; Interest. Tenant acknowledges that the late
               payment of Base Rent or any other amounts payable by Tenant to
               Landlord hereunder (all of which shall constitute additional rental
               to the same extent as Base Rent) will cause Landlord to incur
               administrative costs and other damages, the exact amount of which
               would be impracticable or extremely difficult to ascertain.
               Landlord and Tenant agree that if Landlord does not receive any
               such payment on or before five (5) days after the date the payment
               is due, Tenant shall pay to Landlord, as additional rent, a late



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               charge equal to ten percent (10%) of the overdue amount to cover
               such additional administrative costs.

               4.04 Additional Rent. For purposes of this Lease, all amounts
               payable by Tenant to Landlord, if any, pursuant to this Lease other
               than Base Rent, whether or not denominated as such, shall
               constitute “Additional Rent”. Any amounts due Landlord shall
               sometimes be referred to in this Lease as “Rent”.

       21.     The Base Rent under the Building A Lease for January 2020 was $21,620.75.

       22.     Recleim PA further agreed that, in the event it became a holdover tenant, rent

would increase to 150% of the rent that had been payable at the last month of the Lease. (Id.

¶ 20.03.) Specifically, Recleim PA agreed as follows with respect to any holdover tenancy:

               20.03 Holdover Tenancy. If Tenant holds possession of the
               Premises after the expiration or termination of the Lease Term, by
               lapse of time or otherwise, Tenant shall become a tenant at
               sufferance upon all of the terms contained herein, except as to
               Lease Term and Rent. During such holdover period, Tenant shall
               pay to Landlord a monthly rental equivalent to one hundred fifty
               percent (150%) of the Rent Payable by Tenant to Landlord with
               respect to the last month of the Lease Term. The monthly rent
               payable for such holdover period shall in no event be construed as
               a penalty or as liquidated damages for such retention of possession.
               Without limiting the foregoing, Tenant hereby agrees to indemnify,
               defend and hold harmless Landlord, its beneficiary, and their
               respective agents, contractors and employees, from and against any
               and all claims, liabilities, actions, losses, damages (including
               without limitation, direct, indirect, incidental and consequential)
               and expenses (including, without limitation, court costs and
               reasonable attorneys’ fees) asserted against or sustained by any
               such party and arising from or by reason of such retention of
               possession, which obligations shall survive the expiration or
               termination of the Lease Term.

       23.     Recleim PA also agreed to pay (a) certain late fees and interest, as applicable, as

well as its own utilities. (See id. ¶¶ 4.03; 4.04; 7.01.) Recleim PA also agreed to be responsible

for and pay its use and occupancy taxes.




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       24.     Recleim PA also agreed to pay Landlord’s costs and attorneys’ fees in any action

to enforce the Lease or Landlord’s remedies, where Landlord is the prevailing party. (Id.

¶ 25.14.) Specifically, Recleim PA agreed as follows with respect to attorneys’ fees:

               25.14 Legal Expenses. If either party hereto is made or becomes
               a party to any litigation commenced by or against the other party
               involving the enforcement of any of the rights and remedies of
               such party, or arising on account of the default of the other party in
               the performance of such party’s obligations hereunder, then the
               prevailing party in any such litigation, or the party becoming
               involved in such Litigation because of a claim against such other
               party, as the case may be, shall receive from the other party all
               actual, documented costs and reasonable attorneys’ fees incurred
               by such party at trial and on appeal in connection with such
               litigation.

       25.     Pursuant to the Building B Lease, Recleim PA agreed to pay Landlord a monthly

Base Rent in advance on the first day of each calendar month. (Building B Lease Art. 4, ¶¶ 4.01,

4.02.) Specifically, the Building B Lease provides as follows:

                                     ARTICLE IV - RENT

               4.01 Base Rent. During the Lease Term, Tenant shall pay to
               Landlord as rental for the Premises the Base Rent described in
               Section 1.06 above.

               4.02 Payment. Base Rent shall be payable in advance on the
               first day of each calendar month. All Rent, and all other amounts
               payable to Landlord by Tenant pursuant to the provisions of this
               Lease, shall be paid to Landlord, without notice, demand,
               abatement, deduction or offset, in lawful money of the United
               States at Landlord's address, as stated herein, or to such other
               person or at such other place as Landlord may designate from time
               to time by written notice given to Tenant.

               4.03 Late Charge; Interest. Tenant acknowledges that the late
               payment of Base Rent or any other amounts payable by Tenant to
               Landlord hereunder (all of which shall constitute additional rental
               to the same extent as Base Rent) will cause Landlord to incur
               administrative costs and other damages, the exact amount of which
               would be impracticable or extremely difficult to ascertain.
               Landlord and Tenant agree that if Landlord does not receive any
               such payment on or before five (5) days after the date the payment


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               is due, Tenant shall pay to Landlord, as additional rent, a late
               charge equal to ten percent (10%) of the overdue amount to cover
               such additional administrative costs.

               4.04 Additional Rent. For purposes of this Lease, all amounts
               payable by Tenant to Landlord, if any, pursuant to this Lease other
               than Base Rent, whether or not denominated as such, shall
               constitute “Additional Rent”. Any amounts due Landlord shall
               sometimes be referred to in this Lease as “Rent”.

       26.     The Base Rent under the Building B Lease for January 2020 was $13,954.37.

       27.     Recleim PA further agreed that, in the event it became a holdover tenant, the Base

Rent would be 150% of the Base Rent that had been payable at the last month of the Lease. (Id.

¶ 20.03.) Specifically, the Building B Lease provides as follows with respect to any holdover

tenancy:

               20.03 Holdover Tenancy. If Tenant holds possession of the
               Premises after the expiration or termination of the Lease Term, by
               lapse of time or otherwise, Tenant shall become a tenant at
               sufferance upon all of the terms contained herein, except as to
               Lease Term and Rent. During such holdover period, Tenant shall
               pay to Landlord a monthly rental equivalent to one hundred fifty
               percent (150%) of the Rent Payable by Tenant to Landlord with
               respect to the last month of the Lease Term. The monthly rent
               payable for such holdover period shall in no event be construed as
               a penalty or as liquidated damages for such retention of possession.
               Without limiting the foregoing, Tenant hereby agrees to indemnify,
               defend and hold harmless Landlord, its beneficiary, and their
               respective agents, contractors and employees, from and against any
               and all claims, liabilities, actions, losses, damages (including
               without limitation, direct, indirect, incidental and consequential)
               and expenses (including, without limitation, court costs and
               reasonable attorneys’ fees) asserted against or sustained by any
               such party and arising from or by reason of such retention of
               possession, which obligations shall survive the expiration or
               termination of the Lease Term.

       28.     Recleim also agreed to pay certain late fees and interest, as applicable, as well as

its own utilities. (See id. ¶¶ 4.03; 4.04; 7.01.) Recleim PA also agreed to be responsible for and

pay its use and occupancy taxes.



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       29.      Recleim also agreed to pay Landlord’s costs and attorneys’ fees in any action to

enforce the Lease or Landlord’s remedies, where Landlord is the prevailing party. (Id. ¶ 23.14.)

Specifically, Recleim PA agreed as follows:

                20.03 Holdover Tenancy. If Tenant holds possession of the
                Premises after the expiration or termination of the Lease Term, by
                lapse of time or otherwise, Tenant shall become a tenant at
                sufferance upon all of the terms contained herein, except as to
                Lease Term and Rent. During such holdover period, Tenant shall
                pay to Landlord a monthly rental equivalent to one hundred fifty
                percent (150%) of the Rent Payable by Tenant to Landlord with
                respect to the last month of the Lease Term. The monthly rent
                payable for such holdover period shall in no event be construed as
                a penalty or as liquidated damages for such retention of possession.
                Without limiting the foregoing, Tenant hereby agrees to indemnify,
                defend and hold harmless Landlord, its beneficiary, and their
                respective agents, contractors and employees, from and against any
                and all claims, liabilities, actions, losses, damages (including
                without limitation, direct, indirect, incidental and consequential)
                and expenses (including, without limitation, court costs and
                reasonable attorneys’ fees) asserted against or sustained by any
                such party and arising from or by reason of such retention of
                possession, which obligations shall survive the expiration or
                termination of the Lease Term.

       B.       Recleim PA Defaults under Both Leases

       30.      Beginning in July 2019, Recleim PA began to default on its payment obligations

under both Leases. For example, in each of the months of July, August, September, October,

November, and December in 2019, Recleim PA failed to pay rent when due.

       31.      Recleim PA then belatedly paid each month’s rent, but for July, August,

November, and December only after first requiring Landlord to pursue Reclaim PA for the

missing rent.

       32.      By January 7, 2020, Recleim PA had once again failed to pay its rent.

       33.      Reclaim PA’s failure to pay the January rent was not an isolated occurrence. As

noted above, Reclaim PA had also failed to pay rent when due in July, August, September,



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October, November, and December of 2019, and Recleim PA only belatedly paid rent for July,

August, November, and December after forcing Landlord to chase it for the overdue rent.

       34.     Upon information and belief, Recleim Parent directed Recleim PA not to pay the

January rent or encouraged it or prevented it from doing so.

       35.     In addition to Recleim PA falling behind on rent, Recleim also amassed a

significant amount of appliance waste at the Premises, which waste threatened to pose an

environmental hazard if not properly stored and removed.

       36.     Recleim PA had also become delinquent on its water utility bills, which

ultimately forced Landlord to pay the delinquent bills to avoid having a lien placed against

Landlord’s property. Landlord also paid Recleim PA’s 2020 use and occupancy taxes for

January, February, and March to avoid such a lien. Recleim PA’s use and occupancy taxes for

April, May, June, and July remain unpaid.

       37.     Recleim PA’s failure to pay January rent – particularly after failing to timely pay

rent in the preceding months of July, August, September, October, November, and December –

constituted an Event of Default and material breach under the Building A and B Leases.

       38.     Among other things, the Building A Lease and Building B Lease provide as

follows:

               14.01 Events of Default by Tenant. The occurrence of any of the
               following shall constitute a material default and breach of this
               Lease by Tenant and shall be deemed an “Event of Default”:

                        (A)    The failure by Tenant to pay Base Rent or make any
               other payment required to be made by Tenant hereunder as and
               when due, and such failure continues for ten (10) days after
               Tenant’s receipt of written demand therefor; provided however,
               that if Tenant shall default in the payment of Rent two (2) or more
               times in any twelve (12) month period, then notwithstanding that
               all such prior defaults have been cured by Tenant, any further
               default in the payment of Rent or other sum of money when due
               hereunder shall be deemed an event of default and shall entitle


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               Landlord to exercise all of its rights and remedies under this Lease,
               including the right of termination, without giving to Tenant any
               period within which to cure such default.

       C.      Recleim’s Defaults Cause Landlord to Exercise Its Right to Terminate the
               Leases

       39.     By January 2020, it became evident that Recleim PA’s rent payment defaults

were not mere oversights or isolated incidents. On the contrary, it was clear that Recleim PA had

significant financial trouble and had become a perennial problem tenant. Having already been

forced to chase Recleim PA for rent in July, August, November, and December; and having also

received September and October rent late; and concerned that Recleim PA would also default on

its obligation to address the growing mountain of appliance waste that began to overtake the

Premises, Landlord exercised its rights under the Building A Lease and Building B Lease to

terminate each Lease.

       40.     Specifically, by letter dated January 7, 2020, pursuant to the terms of the Building

B Lease, Landlord terminated the Building B Lease, effective January 13, 2020, and directed

Reclaim PA to vacate the Premises by then. (Letter from R. Ebby to Recleim PA dated January

7, 2020, a copy of which is attached as Exhibit C.)

       41.     Similarly, by letter dated January 8, 2020, pursuant to the terms of the Building A

Lease, Landlord terminated the Building A Lease, effective January 13, 2020, and directed

Recleim PA to vacate the Premises by then. (Letter from R. Ebby to Recleim PA dated January

8, 2020, a copy of which is attached as Exhibit D.)

       D.      Recleim PA Refuses to Vacate the Premises, Becoming a Holdover Tenant
               Operating Recleim Parent’s Recycling Plant but Without Paying any Rent

       42.     Notwithstanding that it was required to vacate the Premises, Recleim PA has

remained at the Premises, operating – together with Recleim Parent – Recleim Parent’s recycling

plant as business as usual but without paying any rent for the past seven months.


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       43.     Further, after Landlord discovered structural damage in both Buildings A and B

and retained an engineering and construction firm to evaluate the damage and make repairs,

Recleim PA denied Landlord further access to Landlord’s own buildings, preventing Landlord

from making the repairs or inspecting the partial or temporary repairs that Recleim PA

apparently hastily made.

       44.     Recleim PA then had the audacity to seek to use the COVID-19 pandemic as an

excuse for its self-declared 7-month (and counting) rent holiday, asserting in April 2020 that it

was instituting a “rent moratorium” based on an alleged “force majeure.”

       45.      Recleim PA has no basis for its unilaterally-imposed “rent moratorium.” Recleim

PA defaulted under the Leases well prior to the COVID-19 pandemic. The Leases were

terminated well prior to the COVID-19 pandemic. Recleim PA (wrongfully) remains in

possession of the Premises. Recleim continues to operate Recleim’s Philadelphia recycling plant

at the Premises. In any event, Recleim PA expressly agreed that, even in the event of an actual

force majeure, such force majeure could not and would not permit Recleim PA to withhold rent

or declare any “rent moratorium.” (Building A Lease ¶ 25.04; Building B Lease ¶ 23.04.).

Specifically, Recleim PA – in both Leases – agreed as follows with respect to any force majeure:

               25.04 Force Majeure. Notwithstanding anything in this Lease to
               the contrary, neither party shall be deemed in default with respect
               to the performance of any of the terms, covenants, and conditions
               of this Lease (other than the payment of rent or other monetary
               obligations hereunder, none of which shall be subject to matters of
               force majeure) to be performed by it if any failure of its
               performance shall be due to any strike, lockout, civil commotion,
               war, warlike operation, invasion, rebellion, hostilities, military or
               usurped power, sabotage, governmental regulations or controls,
               inability to obtain any material or service, Act of God, weather, or
               any other cause whatsoever (including failure of Landlord or
               Tenant to supply necessary data or instructions) beyond the
               reasonable control of such party, and the time for performance by
               such party shall be extended by the period of delay resulting from



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                 or due to any of said causes; provided, however, in the event the
                 period of delay resulting from or due to any of said causes exceeds
                 one hundred eighty (180) days, either party may terminate this
                 Lease upon written notice to the other. Additionally, in no event
                 shall this Section apply to Landlord's obligations under Article XI
                 or Article XII above.

       46.       As noted above, despite demand, Recleim PA has also failed to pay its water

utility bills and use and occupancy taxes, forcing Landlord to pay at least certain of these

amounts to avoid having a lien placed on its property as a result of Recleim PA’s recurrent

delinquencies.

       47.       Recleim PA ignored Landlord’s other repeated demands, which forced Landlord

to incur legal fees in seeking to enforce its rights under the Leases and protect its property.

                                           Count I
                           Declaratory Judgment (against Recleim PA)

       48.       Landlord incorporates the allegations of the preceding paragraphs as if set forth

fully herein.

       49.       The Building A Lease and Building B Lease are valid contracts that Landlord

properly terminated after Recleim PA defaulted under each Lease.

       50.       Recleim PA, however, has refused to acknowledge this or to vacate the Premises,

apparently contending that Landlord was not permitted to terminate the Leases, and Recleim PA

– now as a holdover tenant – has unilaterally declared a “rent moratorium” based on an alleged

“force majeure.”

       51.       Recleim PA’s refusal to acknowledge that the Leases have been terminated and its

insistence that it may remain at the Premises – without paying any rent – is contrary to the terms

of the Leases and Landlord’s termination of the Leases, all of which has caused and will

continue to cause Landlord damages.




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       52.      There is an actual justiciable case and controversy between Landlord and Recleim

PA regarding the termination of the Leases.

       53.      Landlord is entitled to a declaration that each Lease has been properly terminated

and that Recleim PA, by remaining at the Premises after January 13, 2020, is a holdover tenant.

       WHEREFORE, Landlord requests that judgment be entered in its favor and against

Recleim PA, together with the following relief:

                A.     A declaration that each Lease has been properly terminated;

                B.     A declaration that Recleim PA is a holdover tenant;

                C.     A declaration that Recleim PA has no right to remain at the Premises;

                D.     An award to Landlord for its costs and legal fees incurred in this action
                       against Recleim PA and in enforcing its rights under the Leases; and

                E.     Such other and further relief as this Court deems just and proper.

                                       Count II
     Ejectment and Judgment for Possession (against Recleim PA and Recleim Parent)

       54.      Landlord incorporates the allegations of the preceding paragraphs as if set forth

fully herein.

       55.      Landlord owns the Premises.

       56.      Recleim PA became a commercial tenant at the Premises through the Building A

and Building B Leases.

       57.      By letter dated January 7, 2020, Landlord terminated the Building B Lease.

       58.      By letter dated January 8, 2020, Landlord terminated the Building A Lease.

       59.      In connection with terminating each Lease, Landlord demanded that Recleim PA

vacate the Premises by January 13, 2020.




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       60.      Recleim PA has ignored Landlord’s demands, and Recleim PA and/or Recleim

Parent continue to occupy the Premises, without paying any rent and without any right to

occupancy.

       WHEREFORE, Landlord requests that judgment be entered in its favor and against

Recleim PA and Recleim Parent, together with the following relief:

                A.     Judgment in ejectment against Recleim PA and for possession of the
                       Premises against Recleim PA and Recleim Parent in favor of Landlord;

                B.     An award to Landlord against Recleim PA for Landlord’s costs and legal
                       fees incurred in this action; and

                C.     Such other and further relief as this Court deems just and proper.

                                          Count III
                            Breach of Contract (against Recleim PA)

       61.      Landlord incorporates the allegations of the preceding paragraphs as if set forth

fully herein.

       62.      The Building A and B Leases are enforceable contracts.

       63.      Landlord performed its obligations under the Leases.

       64.      Pursuant to the Building A and Building B Leases, Recleim PA was required to

pay rent.

       65.       Further, after the Leases were terminated and Recleim PA became a holdover

tenant, Recleim PA became obligated to pay rent at the holdover tenant rate.

       66.      Despite this rent obligation and its occupation of the Premises, Recleim PA has

paid no rent.

       67.      Pursuant to the Leases, Recleim PA is also obligated to pay late fees and interest

on delinquent rent.




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        68.       Recleim PA also caused structural damage at the Premises and has failed to

remove a mound of industrial waste that it has amassed on the Premises.

        69.       In addition, Recleim PA also defaulted on its obligations to the City of

Philadelphia, forcing Landlord to pay Recleim PA’s water utility bills and its 2020 use and

occupancy taxes for January, February, and March, to avoid the imposition of a lien on

Landlord’s property.

        70.       As a direct result of Recleim PA’s conduct, Landlord has suffered damages.

        71.       Recleim PA’s conduct has also forced Landlord to incur legal fees in enforcing its

rights under the Lease and bringing this action, which fees Landlord is entitled to recover under

the Leases.

        WHEREFORE, Landlord respectfully requests that judgment be entered in its favor,

together with the following relief:

                  A.     Compensatory damages, including holdover rent, late charges, interest, and
                         repair and waste removal costs;

                  B.     An award to Landlord for its legal fees and costs incurred in this action and
                         in enforcing its rights under the Leases; and

                  C.     Such other and further relief as this Court deems just and proper.

                                            Count IV
                  Tortious Interference with Contracts (against Recleim Parent)

        72.       Landlord incorporates the allegations of the preceding paragraphs as if set forth

fully herein.

        73.       The Building A and B Leases are enforceable contracts to which Recleim Parent

is not a party.

        74.       Recleim Parent is aware of each Lease.




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       75.     As described above, Recleim Parent has assisted, encouraged, and facilitated

Recleim PA’s material breaches of the Leases.

       76.     Recleim Parent has engaged in such conduct intentionally and with malice and

without privilege or justification.

       77.     As a direct result of Recleim Parent’s conduct, Landlord has suffered damages.

       WHEREFORE, Landlord respectfully requests that judgment be entered in its favor,

together with the following relief:

               A.      An award of compensatory damages;

               B.      An award of punitive damages; and

               C.      Such other and further relief as this Court deems just and proper.



Date: July 16, 2020                         HANGLEY ARONCHICK SEGAL PUDLIN &
                                            SCHILLER




                                            Robert L. Ebby
                                            One Logan Square, 27th Floor
                                            Philadelphian, PA 19103
                                            rebby@hangley.com
                                            (215) 568-6200

                                            Attorneys for Plaintiff Delaware Avenue, LLC




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